                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                 AT CHATTANOOGA


 UNITED STATES OF AMERICA                     )
                                              )
 vs.                                          )   CASE NO. 3:13-CR-161-PLR-HBG
                                              )
 GEYSER DELEON                                )


                            MEMORANDUM AND ORDER


        On May 23, 2014, the Honorable H. Bruce Guyton, United States Magistrate

 Judge, filed a 7-page Report and Recommendation (R&R) [R. 273] in which he

 recommended that defendant’s motion to suppress evidence [R. 246] be denied. This

 matter is presently before the court on defendant’s timely objections to the R&R [R. 288].

 On June 16, 2014, the defendant signed a plea agreement [R. 293], and his change of plea

 hearing is scheduled for July 8, 2014.

        As required by 28 U.S.C. § 636(b)(1), the court has now undertaken a de novo

 review of those portions of the R&R to which defendant objects. After doing so, the

 court readily concludes that Magistrate Judge Guyton has thoroughly and correctly

 analyzed the legal issues presented in defendant’s motion to suppress. Thus, any further

 comment by the court is unnecessary and would be repetitive. In sum, the court finds that

 all recorded telephone conversations between defendant and a confidential informant

 were consensually recorded and do not violate either the Fourth Amendment or Title III.

 See United States v. Porter, 29 Fed. Appx. 232 238 (6th Cir. Jan. 28, 2002) (“where the

 government makes a recording with the consent and cooperation of a government


Case 3:13-cr-00161-TAV-HBG        Document 298 Filed 07/02/14        Page 1 of 2    PageID
                                        #: 1076
 informant who is a participant in the conversation, there is no duty to inform the

 defendant or to obtain a court order”); United States v. Hodge, 539 F.2d 898, 904 (6th

 Cir. 1976) (holding it was the intent of Title II to allow consensual interception of

 telephone conversations without an authorizing warrant).

       Accordingly, defendant’s objections [R. 288] are hereby OVERRULED in their

 entirety, and the R&R is ACCEPTED IN WHOLE. Defendant’s motion to suppress

 evidence [R. 246] is hereby DENIED.

       Enter:

                                                ____________________________________
                                                UNITED STATES DISTRICT JUDGE




                                            2

Case 3:13-cr-00161-TAV-HBG       Document 298 Filed 07/02/14      Page 2 of 2    PageID
                                       #: 1077
